        Case 2:19-cv-04237-SVW-PJW Document 9 Filed 05/22/19 Page 1 of 1 Page ID #:36




                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
NANO FOUNDATION, LTD., ET AL.                                     CASE NUMBER

                                                                                     CV 19-04237 DDP (PJWx)
                                                   PLAINTIFF(S)
                             v.
DAVID C. SILVER
                                                                               ORDER RETURNING CASE
                                                                                 FOR REASSIGNMENT
                                                 DEFENDANT(S).



   IT IS ORDERED that the above-entitled case is hereby returned to the Clerk for random reassignment
pursuant to the provisions of General Order 19-03 .




      May 22, 2019
      Date                                                  United
                                                            Unit
                                                            Un iteed
                                                                   d States District
                                                                            Diistrict
                                                                                   ctt Judgee



                                        NOTICE TO COUNSEL FROM CLERK


      This case has been reassigned to Judge               Stephen V. Wilson         for all further proceedings.
On all documents subsequently filed in this case, please substitute the initials       SVW            after the case
number in place of the initials of the prior judge so that the case number will read 2:19-cv-04237 SVW(PJWx .
This is very important because documents are routed to the assigned judge by means of the initials.




cc:       Previous Judge   Statistics Clerk

CV-89 (03/19)                                 ORDER RETURNING CASE FOR REASSIGNMENT
